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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 ADAM COMMUNITY CENTER,
 a domestic nonprofit corporation, a/k/a         Civil Action No. 18-13481
 ADAM COMMUNITY (ACC), a
 domestic nonprofit corporation,                 Hon. Nancy G. Edmunds

        Plaintiff,
 v.

 CITY OF TROY, et al,
      Defendants.
 ___________________________________________________________/


                             INDEX OF EXHIBITS

      A. Certificate of Occupancy

      B. Email from United States Attorney’s Office




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